UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
APPEARANCE OF COUNSEL FORM

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[v Retained [_]Court-appointed(CJA) [IJCIA associate [}Court-assigned(non-CJA) [Federal Defender

[Pro Bono [[]Government

COUNSEL FOR: United Sovereign Americans, Inc. and Maryland Election Integrity, LLC

as the

(party name)

[ ]respondent(s)[__]amicus curiae [__Jintervenor(s) [_}movant(s)

nt(s)[_ |

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